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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

DR. SHIVA AYYADURAI,

Plaintiff,

Vv. C.A. No. 1:20-11889-MLW

WILLIAM FRANCIS GALVIN,
MICHELLE K. TASSINARI,
DEBRA O'MALLEY,
AMY COHEN,
NATIONAL ASSOCIATION OF STATE
ELECTION DIRECTORS,
all in their individual
capacities, and
WILIAM FRANCIS GALVIN, in his
official capacity as the
Secretary of the Commonwealth
of Massachusetts,

Defendants.

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MEMORANDUM AND ORDER
WOLF, D.J. August 3, 2021

 

In an ex parte affidavit filed under seal (Docket No. 169),
plaintiff's counsel Timothy Cornell reported that plaintiff's
Memorandum of Law (Docket No. 166) was “written by a law firm in
California that did not put its name on the memorandum."

Accordingly, it is hereby ORDERED that:

1. Plaintiff shall, by 9:00 a.m. on August 4, 2021, file an
affidavit identifying the author(s) of the Memorandum of Law
(Docket No. 166).

2. The author(s) of the Memorandum of Law, who have been
acting in concert with plaintiff, shall attend the August 4, 2021

hearing by videoconference, and be prepared to testify, if
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necessary, concerning whether the author(s)' conduct violated
Federal Rule of Civil Procedure 11(b). See, e.g., Barnett v.
LeMaster, 12 Fed. Appx. 774, 778-79 (10th Cir. 2001); Johnson v.

Bd. of County Comm'rs., 868 F. Supp. 1226, 1231-32 (D. Colo. 1994).

 

3. Plaintiff shall serve this Order on the author(s) of the

Memorandum of Law forthwith.

  

UNITED STATES DISTRICT {JUDGE

  

 
